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                   EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTER DIVISION

------------------------------------------------------------- x
                                                              :
JUSTIN O’CONNOR, et al., on behalf of himself :
and all other similarly situated,                             :   Case No. 19-cv-5045
                                                              :
                                  Plaintiffs,                 :   Consolidated with Case
                                                              :   Nos. 20-cv-1981, 20-cv-2095,
                    - against -                               :   And 20-cv-2612
                                                              :
FORD MOTOR COMPANY,                                           :   Judge Robert M. Dow, Jr.
                                                              :
                                    Defendant.                :
                                                              :
------------------------------------------------------------- x

                            DEFENDANT FORD MOTOR COMPANY’S
                             RULE 26(a)(1) INITIAL DISCLOSURES

         Defendant Ford Motor Company (“Ford”) submits its initial disclosures pursuant to

Federal Rule of Civil Procedure 26(a)(1) as follows:

                                    PRELIMINARY STATEMENT

         In the spirit of cooperation and in an attempt to advance the goal of Rule 26(a)(1) to reduce

expense and delay, Ford provides this disclosure statement based upon Plaintiffs’ Consolidated

Amended Class Action Complaint (ECF No. 63) (the “Consolidated Complaint”) and Ford’s

investigation to date. Ford anticipates that it may be able to identify additional witnesses and/or

documents, if any, after Plaintiffs have clarified their defect allegations and through discovery

(particularly including expert discovery) in accordance with the Federal Rules of Civil Procedure.1




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        By serving these initial disclosures, Ford does not waive, and expressly reserves, its rights
to compel arbitration against any plaintiff that has entered into an arbitration agreement that applies
to any claims in this action.


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       According to the Consolidated Complaint, the putative “Class Vehicles” containing the

alleged defect are 2017-2020 Ford F-150 pickup trucks equipped with a 10R80 transmission.

Accordingly, Ford will provide information regarding the named Plaintiffs’ pickup trucks, as well

as 2017-2020 Ford F-150 pickup trucks equipped with a 10R80 transmission manufactured and

sold in the United States. Ford does not admit or agree, however, that all components and

subcomponents of the transmission are at issue in this case.

       Ford makes this disclosure without waiving any right or opportunity to assert any

appropriate defenses or objections, at any time in this lawsuit, including information contained in

any and all documents addressing facts and issues other than that identified above. Specifically,

Ford’s disclosure is made without waiving, in any respect, (1) the right to object on the grounds of

competency, privilege, relevancy, materiality, proportionality, hearsay, or any other proper

ground, to the use of any such information, for any purpose, in whole or in part, in any subsequent

stage or proceeding in this action or any other action, and (2) the right to object on any and all

grounds, at any time, to any other discovery proceeding involving or relating to the subject matter

of this disclosure. In addition, because Plaintiffs may assert, clarify, modify, or otherwise develop

defect theories in this lawsuit, Ford reserves the right at any time in this litigation to identify

additional witnesses and/or documents, if any, which pertain to any such theories. Finally, Ford

states that in making this disclosure, Ford is not identifying documents protected from disclosure

by the attorney-client privilege, work product doctrine, consulting expert privilege, or any other

applicable privilege.




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I.     RULE 26(A)(1)(A)(i): The name and, if known, the address and telephone number of

each individual likely to have discoverable information—along with the subjects of that

information that the disclosing party may use to support its claims or defenses, unless the use

would be solely for impeachment.

       Ford is presently aware of the following individuals who may possess responsive

information concerning the 10R80 transmission equipped in 2017-2020 Ford F-150 pickup trucks,

the named Plaintiffs’ pickup trucks, the nature of Plaintiffs’ alleged damages, and/or Ford’s

defenses:

       1.     CASE SPECIFIC WITNESSES

 No.    Name                          Anticipated Testimony/Area of Knowledge
 1.     Michael Barcelona             Barcelona may have information regarding the
        c/o Gregory F. Coleman        allegations and alleged damages in the
        MILBERG COLEMAN BRYSON        Consolidated Complaint. Barcelona is the owner
        PHILLIPS GROSSMAN, PLLC       of a putative class vehicle, a 2018 Ford F-150, and
        First Tennessee Plaza         is expected to have knowledge regarding the
        800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
        Knoxville, TN 37929           Barcelona is also expected to have knowledge
        Tel: (865) 247-0080           regarding his review of any marketing materials
                                      reviewed prior to purchase of the pickup truck.
 2.     Brian Dougherty               Dougherty may have information regarding the
        c/o Gregory F. Coleman        allegations and alleged damages in the
        MILBERG COLEMAN BRYSON Consolidated Complaint. Dougherty is allegedly
        PHILLIPS GROSSMAN, PLLC       the owner of a putative class vehicle, a 2018 Ford
        First Tennessee Plaza         F-150, and is expected to have knowledge
        800 S. Gay Street, Suite 1100 regarding the purchase, use, maintenance of the
        Knoxville, TN 37929           pickup truck. Dougherty is also expected to have
        Tel: (865) 247-0080           knowledge regarding his review of any marketing
                                      materials reviewed prior to purchase of the pickup
                                      truck.




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No.   Name                          Anticipated Testimony/Area of Knowledge
3.    Daniel Fair                   Fair may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON        Consolidated Complaint. Fair is the owner of a
      PHILLIPS GROSSMAN, PLLC       putative class vehicle, a 2019 Ford F-150, and is
      First Tennessee Plaza         expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929           Fair is also expected to have knowledge regarding
      Tel: (865) 247-0080           his review of any marketing materials reviewed
                                    prior to purchase of the pickup truck.
4.    William Fiedler               Fiedler may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Fiedler is allegedly the
      PHILLIPS GROSSMAN, PLLC       owner of a putative class vehicle, a 2018 Ford F-
      First Tennessee Plaza         150, and is expected to have knowledge regarding
      800 S. Gay Street, Suite 1100 the purchase, use, maintenance of the pickup
      Knoxville, TN 37929           truck. Fiedler is also expected to have knowledge
      Tel: (865) 247-0080           regarding his review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.
5.    Susan Heller                  Heller may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Heller is the owner of a
      PHILLIPS GROSSMAN, PLLC       putative class vehicle, a 2018 Ford F-150, and is
      First Tennessee Plaza         expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929           Heller is also expected to have knowledge
      Tel: (865) 247-0080           regarding her review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.
6.    Robert Marino                 Marino may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Marino is the lessor of
      PHILLIPS GROSSMAN, PLLC       a putative class vehicle, a 2019 Ford F-150, and
      First Tennessee Plaza         is expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929           Marino is also expected to have knowledge
      Tel: (865) 247-0080           regarding his review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.




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No.   Name                          Anticipated Testimony/Area of Knowledge
7.    Michael McDonald              McDonald may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON        Consolidated Complaint. McDonald is allegedly
      PHILLIPS GROSSMAN, PLLC       the owner of a putative class vehicle, a 2018 Ford
      First Tennessee Plaza         F-150, and is expected to have knowledge
      800 S. Gay Street, Suite 1100 regarding the purchase, use, maintenance of the
      Knoxville, TN 37929           pickup truck. McDonald is also expected to have
      Tel: (865) 247-0080           knowledge regarding his review of any marketing
                                    materials reviewed prior to purchase of the pickup
                                    truck.
8.    Victor M. Orndorff            Orndorff may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Orndorff is the owner
      PHILLIPS GROSSMAN, PLLC       of a putative class vehicle, a 2018 Ford F-150, and
      First Tennessee Plaza         is expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929           Orndorff is also expected to have knowledge
      Tel: (865) 247-0080           regarding his review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.
9.    Bryan Smith                   Smith may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Smith is the owner of a
      PHILLIPS GROSSMAN, PLLC       putative class vehicle, a 2018 Ford F-150, and is
      First Tennessee Plaza         expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100 purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929           Smith is also expected to have knowledge
      Tel: (865) 247-0080           regarding his review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.
10.   Jason Steen                   Steen may have information regarding the
      c/o Gregory F. Coleman        allegations and alleged damages in the
      MILBERG COLEMAN BRYSON Consolidated Complaint. Steen is allegedly the
      PHILLIPS GROSSMAN, PLLC       owner of a putative class vehicle, a 2017 Ford F-
      First Tennessee Plaza         150, and is expected to have knowledge regarding
      800 S. Gay Street, Suite 1100 the purchase, use, maintenance of the pickup
      Knoxville, TN 37929           truck. Steen is also expected to have knowledge
      Tel: (865) 247-0080           regarding his review of any marketing materials
                                    reviewed prior to purchase of the pickup truck.




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No.   Name                               Anticipated Testimony/Area of Knowledge
11.   Stanislaw Zielinski                Zielinski may have information regarding the
      c/o Gregory F. Coleman             allegations and alleged damages in the
      MILBERG COLEMAN BRYSON             Consolidated Complaint. Zielinski is the owner
      PHILLIPS GROSSMAN, PLLC            of a putative class vehicle, a 2018 Ford F-150, and
      First Tennessee Plaza              is expected to have knowledge regarding the
      800 S. Gay Street, Suite 1100      purchase, use, maintenance of the pickup truck.
      Knoxville, TN 37929                Zielinski is also expected to have knowledge
      Tel: (865) 247-0080                regarding his review of any marketing materials
                                         reviewed prior to purchase of the pickup truck.
12.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Townsend Sales & Service, Inc.     and/or service of Barcelona’s pickup truck.
      340 Main Street
      Townsend, MA 01469
      Tel: (844) 338-6950
13.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Colonial Ford of Marlboro          service of Barcelona’s pickup truck.
      428 Maple Street
      Marlborough, MA 01752
      Tel: (833) 856-4555
14.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Ditschman/Flemington Ford          and/or service of Dougherty’s pickup truck.
      215 Route 202
      Flemington, NJ 08822
      Tel: (833) 822-8320
15.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Apple Ford                         service of Dougherty’s pickup truck.
      8800 Stanford Boulevard
      Columbia, MD 21045
      Tel: (833) 808-4821
16.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Hemborg Ford                       and/or service of Fair’s pickup truck.
      1900 Hammer Avenue
      Norco, CA 92860
      Tel: (833) 837-6633
17.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Lake Elsinore Ford                 service of Fair’s pickup truck.
      31500 Auto Center Drive
      Lake Elsinore, CA 92530
      Tel: (844) 230-7026
18.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Greico Ford of Delray Beach        and/or service of Fiedler’s pickup truck.
      2605 S. Federal Highway
      Delray Beach, FL 33483
      Tel: (833) 804-5590



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No.   Name                               Anticipated Testimony/Area of Knowledge
19.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Healey Ford                        and/or service of Heller’s pickup truck.
      2528 NY-17M
      Goshen, NY 109224
      Tel: (833) 806-5519
20.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Leo Kaytes Ford Inc.               service of Heller’s pickup truck.
      145 Route 94 South
      Warwick, NY 10990
      Tel: (844) 336-4448
21.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Morristown Ford, Inc.              service of Heller’s pickup truck.
      1112 West Morris Boulevard
      Morristown, TN 37813
      Tel: (833) 775-4368
22.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Quirk Ford                         and/or service of Marino’s pickup truck.
      540 Southern Artery
      Quincy, MA 02169
      Tel: (844) 336-7185
23.   Employees and representatives of   Knowledgeable regarding the repair and/or
      York Ford, Inc.                    service of Marino’s pickup truck.
      1481 Broadway
      Saugus, MA 01906
      Tel: (844) 326-0670
24.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Pegues-Hurst Motor Company         and/or service of McDonald’s pickup truck.
      200 Spur 63 South
      Longview, TX 75601
      Tel: (833) 878-9878
25.   Employees and representatives of   Knowledgeable regarding the sale and repair
      Chapman Ford LLC                   and/or service of Orndorff’s pickup truck.
      3951 Columbia Avenue
      Columbia, PA 17512
      Tel: (833) 827-1658
26.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Crouse Ford Sales, Inc.            service of Orndorff’s pickup truck.
      11 Antrim Boulevard
      Taneytown, MD 21787
      Tel: (833) 817-7869
27.   Employees and representatives of   Knowledgeable regarding the repair and/or
      Gene Latta Ford, Inc.              service of Orndorff’s pickup truck.
      1565 Carlisle Pike
      Hanover, PA 17331
      Tel: (833) 853-5308


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 No.     Name                                  Anticipated Testimony/Area of Knowledge
 28.     Employees and representatives of      Knowledgeable regarding the repair and/or
         Apple Ford of Red Lion                service of Orndorff’s pickup truck.
         3250 Cape Horn Rd
         Red Lion, PA 17356
         Tel: (833) 893-2392
 29.     Employees and representatives of      Knowledgeable regarding the sale and repair
         The Ford Store Morgan Hill            and/or service of Smith’s pickup truck.
         17045 Condit Road
         Morgan Hill, CA 95037
         Tel: (833) 851-6198
 30.     Employees and representatives of      Knowledgeable regarding the sale and repair
         Citrus Motors                         and/or service of Steen’s pickup truck.
         1375 S. Woodruff Way
         Ontario, CA 91761
         Tel: (833) 874-6572
 31.     Employees and representatives of      Knowledgeable regarding the sale and repair
         Buss Ford Sales, LLC                  and/or service of Zielinki’s pickup truck.
         111 State Route 31
         McHenry, IL 60050
         Tel: (844) 336-6325
 32.     Employees and representatives of      Knowledgeable regarding the repair and/or
         Surprise Ford                         service of Zielinki’s pickup truck.
         16825 West Waddell Road
         Surprise, AZ 85388
         Tel: (833) 817-1775

       2.      FORD MOTOR COMPANY EMPLOYEES

       Regarding the identification of Ford representatives or employees, Ford states that due to

the complexity of the design and development process, it would be unduly burdensome to identify

all individuals or groups of persons responsible for all design decisions. The design of a motor

vehicle, including its transmission, is a complex, technical process that takes place over a period

of several years prior to actual production. Hundreds of engineers and other technical personnel,

including suppliers, have been involved in the design and development of the 10R80 transmission

equipped in putative class vehicles. There is no one person, or small group of persons, who had

overall responsibility for designing the entire pickup or for all transmission components allegedly

at issue in this case. Given this, many persons may have information that Ford may contend is



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relevant to its defenses. However, based on the information known at this time regarding

Plaintiffs’ claims and allegations, and without waiving any objection it may have, Ford identifies

the following Ford witnesses:

 No.   Name                                              Area of Knowledge
 1.    David Aho                                         Mr. Aho is knowledgeable about the
       Ford Motor Company                                design, development, manufacture or
       c/o Hector Torres                                 servicing of the 10R80 transmissions
       KASOWITZ BENSON TORRES LLP                        equipped in 2017-2020 Ford F-150
       1633 Broadway                                     pickup trucks.
       New York, NY 10019
       Tel: (212) 506-1730
 2.    Kara Kennedy                                      Ms. Kennedy is knowledgeable about
       Ford Motor Company                                the design, development, testing or
       c/o Hector Torres                                 manufacture of 10R80 transmissions
       KASOWITZ BENSON TORRES LLP                        equipped in 2017-2020 Ford F-150
       1633 Broadway                                     pickup trucks.
       New York, NY 10019
       Tel: (212) 506-1730
 3.    Amy Schang                                        Ms. Schang is knowledgeable about
       Ford Motor Company                                warranty claim analysis of 10R80
       c/o Hector Torres                                 transmissions equipped in 2017-2020
       KASOWITZ BENSON TORRES LLP                        Ford F-150 pickup trucks.
       1633 Broadway
       New York, NY 10019
       Tel: (212) 506-1730
 4.    Matthew L. Fyie                                   Mr. Fyie is knowledgeable about the
       Ford Motor Company                                design,     development,     testing,
       c/o Hector Torres                                 manufacture or servicing of 10R80
       KASOWITZ BENSON TORRES LLP                        transmissions equipped in 2017-2020
       1633 Broadway                                     Ford F-150 pickup trucks.
       New York, NY 10019
       Tel: (212) 506-1730
 5.    Brian O’Neil (ret.)                               Mr. O’Neil is knowledgeable about the
       Last known address is available upon request      design, development, testing or
                                                         manufacture of 10R80 transmissions
                                                         equipped in 2017-2020 Ford F-150
                                                         pickup trucks.

       In addition, Ford may identify additional Ford employees or suppliers who had

responsibility for or involvement with the design, development, testing or manufacture of the

10R80 transmission installed in 2017-2020 Ford F-150 pickup trucks at issue in this case that are



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identified in discovery, including from a reasonable and proportionate number of Ford custodians

from whom Ford will produce documents as it relates to the allegations in this case and pursuant

to the parties’ ESI protocol or upon agreement of the parties.

       Ford also identifies the engineering drawings and other design and testing-related

information for the 10R80 transmission equipped in 2017-2020 Ford F-150 pickup trucks, which

will identify the name of the design and release engineer(s) or individuals, including suppliers,

who may have participated in the design, development, testing or manufacture of the 10R80

transmission or its components. Ford refers Plaintiffs to those documents.

       Ford reserves the right to call as a witness any person or expert designated by another party

in this case. Ford is still investigating the issues and determining the existence and identity of

additional fact witnesses who may possess relevant information. Accordingly, Ford respectfully

reserves the right to supplement this disclosure to identify additional witnesses, including, but not

limited to, (1) all witnesses designated in any disclosure served by any other party; (2) any and all

persons listed in any deposition notices, answer to interrogatories, responses to requests for

production, Plaintiffs’ discovery responses, any and all subpoenas, and/or other discovery in this

action; (3) other witnesses upon reasonable notice to the parties; (4) any and all witnesses

necessary for impeachment and/or rebuttal purposes; and (5) experts, as discovery progresses.

II.    RULE 26(A)(1)(A)(ii): A copy—or a description by category and location—of all

documents, electronically stored information, and tangible things that the disclosing party has

in its possession, custody, or control and may use to support its claims or defenses, unless the

use would be solely for impeachment.

       Per Rule 26(a)(1)(A)(ii), Ford hereby discloses the following documents, electronically

stored information (“ESI”), and tangible things.




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       Ford’s defenses in this matter depend on the specific legal theories, and the factual bases

advanced by Plaintiffs. The allegations in the Consolidated Complaint are general in nature and

relate to claims of harsh and/or erratic shifting, and vehicle lunging, hesitation and jerking. Based

on its knowledge of this case to date, Ford will produce documents which support its contention

that certification of a class action under Fed. R. Civ. P. 23 is not appropriate. Ford will also

produce documents that support its contention that it did not breach any express or implied

warranty, violate the Magnuson-Moss Warranty Act or any state unfair trade practice or consumer

protection law as set forth in the Consolidated Complaint, or engage in fraud or fraudulent

concealment with respect to the design, manufacture, sale, and/or performance of the 10R80

transmission in 2017-2020 Ford F-150 pickup trucks. Ford reserves the right to supplement this

disclosure as discovery and its investigation continue.

       Furthermore, Ford’s investigation of Plaintiffs’ claims is ongoing and incomplete. Ford

may support its claims and defenses using hard copy documents and ESI, including, but not limited

to, email and electronic documents such as those created with Microsoft Office and with

engineering or manufacturing applications.

       Hard copy documents may be located in various locations throughout the company. ESI

may be located in employee laptop and desktop hard drives, various file and print servers, email

servers, portable media such as CDs and DVDs, mainframe computers, electronic document

repositories, and application databases.

       To the extent Ford produces engineering drawings in this litigation, it will do so in the

format in which they are utilized or stored in the normal course of business. These formats may

include drawings in the form of tiff, jpeg, pdf files, etc., and CAD files such as IDEAS files, IDEAS

NG files, CATIA, JT files, etc., or various combinations thereof. With respect to the CAD models,




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Ford does not own the software to read these files. Ford does, however, use industry standard

software that is commercially available to Plaintiffs and their experts. Ford is contractually

prohibited from reproducing the software to third parties as it is proprietary to the vendor. To the

extent Ford produces CAD models in this case, it will do so subject to the entry of an appropriate

protective order. Ford will identify the native format of the software for those components and

the related vendor.

       Ford discloses that it may support its defenses using ESI located in, or reports generated

from, the following databases:

          CCRG. Critical Concern Review Group (“CCRG”) Report database contains copies
           of Critical Concern Review Group reports of potentially critical vehicle concerns.

          DURIS. The Durability Information System (“DURIS”) is used to track various types
           of vehicle durability testing, including Proving Ground test schedules, program status,
           vehicle incident and concern reporting, driver assignment, and test status.

          FORDDOC. The FORDDOC database is used to access engineering drawings and
           specifications.2

          GCCT. The Global Contact Center Technology (“GCCT”) application contains
           summaries of customer contact information received by Ford through its call center
           from vehicle owners about their vehicles or sales experience.

          GCQIS. The Global Common Quality Indicator System (“CQIS”) database provides
           access to selected vehicle concern information originating from dealerships and
           internal Ford sources.

          GSAR. The Global System for Analytics and Reporting (“GSAR”) database, which
           has replaced the Analytical Warranty System (“AWS”) database, contains warranty
           claims and selected vehicle information.

          NAVIS. North American Vehicle Information System (“NAVIS”) is an electronic data
           source containing selected sales and production information about vehicles
           manufactured by Ford Motor Company. Among other things, NAVIS includes certain
           data concerning sales of vehicles by Ford dealers.



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       This database replaced and serves the same function as the prior DOCMAN database.


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           OASIS. Global Online Automotive Services Information System (“GOASIS”)
            database provides dealers with selected vehicle and technical services information for
            a specific VIN, including Technical Service Bulletins (“TSB”), Special Service
            Messages (“SSM”), and General Service Bulletins (“GSB”).

           WERS. The Worldwide Engineering Release System (“WERS”) is an information
            system that manages and communicates parts information to organizations and
            downstream systems.

        In addition, Ford uses other software tools, utilized throughout the automotive industry, for

the design and development of its vehicles. Such software tools include computer-aided design

tools, computer-aided engineering tools, and motion simulation tools. This software may be

proprietary and licensed from third-party suppliers. UNIX systems and Numerically Intensive

Computers are used to generate and/or store the ESI utilizing this software.

                                    PRODUCTION TIMING

        Pursuant to Magistrate Judge Valdez’s October 26, 2021, Ford states that it will commence

a rolling production of documents no later than February 17, 2022. Ford will advise Plaintiffs,

however, if it anticipates any issues with meeting the timing of its anticipated production.

                            IDENTIFICATION OF DOCUMENTS

        Without waiving any objections as to admissibility, Ford identifies the following

documents or categories of documents:

       Representative Owner’s Guide for 2017-2020 Ford F-150 pickup trucks;

       Scheduled Maintenance Guide for 2017-2020 Ford F-150 pickup trucks;

       Warranty Guide for 2017-2020 Ford F-150 pickup trucks;3

       Factory Invoice for the named Plaintiffs’ Ford F-150 pickup trucks;

       Field Service Action history for the named Plaintiffs’ Ford F-150 pickup trucks;


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        The above materials are available for viewing and/or download at no charge at
https://owner.ford.com/tools/account/how-tos/owner-manuals-search-results.html.


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     Warranty reimbursement records for the named Plaintiffs’ Ford F-150 pickup trucks;

     Non-warranty records for the named Plaintiffs’ Ford F-150 pickup trucks;

     Copies of Ford Technical Service Bulletins (“TSB”), Special Service Messages (“SSM”),
      and General Service Bulletins (“GSB”) applicable to harsh or erratic transmission shifting
      and/or vehicle lunging, hesitation or jerking in 2017-2020 Ford F-150 pickup trucks
      equipped with a 10R80 transmission;

     Representative print and/or video advertising for 2017-2020 Ford F-150 pickup trucks;

     Showroom Brochures for 2017-2020 Ford F-150 pickup trucks;

     Source Books for 2017-2020 Ford F-150 pickup trucks;

     2017-2020 Ford F-150 pickup truck Shop Manual sections related to the 10R80 automatic
      transmission and its external controls;

     Engineering drawings and/or CAD files applicable to the mechanical, hydraulic and
      structural components of the 10R80 transmission equipped in 2017-2020 Ford F-150
      pickup trucks;

     Engineering and material specifications applicable to the mechanical, hydraulic and
      structural components of the 10R80 transmission equipped in 2017-2020 Ford F-150
      pickup trucks;

     System Design Specification (“SDS”) or other applicable design specifications applicable
      to the 10R80 transmission equipped in 2017-2020 Ford F-150 pickup trucks;

     Design Verification Plan and Report (“DVP&Rs”) applicable to shift quality of the 10R80
      transmission equipped in 2017-2020 Ford F-150 pickup trucks;

     AVL test procedure for vehicle shiftability applicable to the 10R80 transmission equipped
      in 2017-2020 Ford F-150 pickup trucks;

     Durability incident reports applicable to harsh or erratic transmission shifting and/or
      vehicle lunging, hesitation or jerking in 2017-2020 Ford F-150 pickup trucks equipped
      with a 10R80 transmission; and

     Federal Motor Vehicle Safety Standard (“FMVSS”) 101, 102, 105/135 and 113
      certification packages applicable to 2017-2020 Ford F-150 pickup trucks equipped with a
      10R80 automatic transmission.




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                     PROPRIETARY AND PRIVILEGED MATERIALS

       Consistent with the parties’ October 21, 2021 Joint Status Report (ECF No. 86), documents

that are protected by the attorney-client privilege or the work product doctrine will not be produced

in this lawsuit, and, if required, will be listed on a categorical or metadata privilege log, or

otherwise identified as required by the applicable rules of civil procedure, local rules, and case

law.

       In addition, certain of the documents identified above and to be produced by Ford in this

lawsuit are confidential or proprietary in nature. These documents will be clearly designated as

such through labeling on each individual page, or in the case of natively produced materials, in the

document title or slip sheet, stating “Confidential”, “Highly Confidential” and/or “Produced by

Ford Subject to Protective Order.”

       All of the Disclosures herein include information and data in the possession, custody, and

control of Ford, as well as that which can be ascertained, learned, or acquired by reasonable inquiry

and investigation.   Ford will supplement this disclosure statement in accordance with the

applicable Federal Rules of Civil Procedure.

III.   RULE 26(a)(1)(A)(iii): A computation of each category of damages claimed by the

disclosing party—who must also make available for inspection and copying as under Rule 34

the documents or other evidentiary material, unless privileged or protected from disclosure, on

which each computation is based, including materials bearing on the nature and extent of

injuries suffered.

       Ford is not alleging any damages, and as such is unable to disclose, as required by Rule

26(a)(1)(A)(iii), a computation of any category of damages claimed by the disclosing party.




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IV.    RULE 26(a)(1)(A)(iv): For inspection and copying as under Rule 34, any insurance

agreement under which an insurance business may be liable to satisfy all or part of a possible

judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment.

       Based on the allegations in the Consolidated Complaint, Ford does not have insurance

applicable to this lawsuit.




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Dated: December 2, 2021

 KASOWITZ BENSON TORRES LLP                      DONOHUE BROWN MATHEWSON & SMYTH
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on

December 2, 2021, on all counsel of record via email.

                                                         /s/ Hector Torres
                                                         Hector Torres




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